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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          DistrictDistrict
                                                     __________    of Columbia
                                                                           of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 21-sc-188
 INFORMATION ASSOCIATED ONE ICLOUD ACCOUNT THAT IS                           )
STORED AT PREMISES CONTROLLED BY APPLE INC. PURSUANT                         )
   TO 18 U.S.C. § 2703, FOR AN INVESTIGATION INVOLVING A                     )
                 VIOLATION OF 18 U.S.C. § 1512

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A incorporated herein and included as part of this Application for a Search Warrant

located in the          Northern                  District of                 California                , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B incorporated herein and included as part of this Application for a Search Warrant


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                             Offense Description
        18 U.S.C. § 1512                 Obstruction of Justice
        18 U.S.C. § 1752                 Unlawful Entry on Restricted Buildings or Grounds
        40 U.S.C. § 5104                 Unlawful activities [Capitol Grounds]
          The application is based on these facts:
        See attached affidavit in support of search warrant


           u Continued on the attached sheet.
           u Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                      Applicant’s signature

                                                                                                 Matthew Gano, Special Agent, FBI
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            01/20/2021
                                                                                                        Judge’s signature

City and state: Washington, DC                                                                G. Michael Harvey, Magistrate Judge
                                                                                                      Printed name and title
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AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 21-sc-188
   IINFORMATION ASSOCIATED ONE ICLOUD ACCOUNT THAT                          )
     IS STORED AT PREMISES CONTROLLED BY APPLE INC.
     PURSUANT TO 18 U.S.C. § 2703, FOR AN INVESTIGATION                     )
          INVOLVING A VIOLATION OF 18 U.S.C. § 1512                         )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                   Northern       District of            California
(identify the person or describe the property to be searched and give its location):
  See Attachment A (incorporated by reference)




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B (incorporated by reference)




        YOU ARE COMMANDED to execute this warrant on or before                 February 3, 2021        (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to            G. Michael Harvey, U.S. Magistrate Judge         .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:          01/20/2021
                                                                                                          Judge’s signature

City and state: Washington, DC                                                           G. Michael Harvey, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:21-sc-00188-GMH Document 1 Filed 01/20/21 Page 3 of 23
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 21-sc-188
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                    ATTACHMENT A

                                  Property to Be Searched

       This warrant applies to information associated with Josiah Colt, Apple ID:

josiahcolt@gmail.com, DSID: 272715681, Login Alias: josiahcolt@icloud.com, that is stored at

premises owned, maintained, controlled, or operated by Apple Inc., a company headquartered at

One Apple Park Way, Cupertino, California.
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                                        ATTACHMENT B

                                  Particular Things to be Seized

   I.         Information to be disclosed by Apple Inc. (“Apple”)

        To the extent that the information described in Attachment A is within the possession,

custody, or control of Apple, regardless of whether such information is located within or outside

of the United States, and including any emails, records, files, logs, or information that has been

deleted but is still available to Apple, or has been preserved pursuant to a request made under 18

U.S.C. § 2703(f), Apple is required to disclose the following information to the government for

each account or identifier listed in Attachment A:

        a.       All records or other information regarding the identification of the account, to

include full name, physical address, telephone numbers, email addresses (including primary,

alternate, rescue, and notification email addresses, and verification information for each email

address), the date on which the account was created, the length of service, the IP address used to

register the account, account status, associated devices, methods of connecting, and means and

source of payment (including any credit or bank account numbers);

        b.       All records or other information regarding the devices associated with, or used in

connection with, the account (including all current and past trusted or authorized iOS devices and

computers, and any devices used to access Apple services), including serial numbers, Unique

Device Identifiers (“UDID”), Advertising Identifiers (“IDFA”), Global Unique Identifiers

(“GUID”), Media Access Control (“MAC”) addresses, Integrated Circuit Card ID numbers

(“ICCID”), Electronic Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),

Mobile Equipment Identifiers (“MEID”), Mobile Identification Numbers (“MIN”), Subscriber

Identity Modules (“SIM”), Mobile Subscriber Integrated Services Digital Network Numbers
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(“MSISDN”), International Mobile Subscriber Identities (“IMSI”), and International Mobile

Station Equipment Identities (“IMEI”);

       c.       The contents of all emails associated with the account November 1, 2020, to the

present, including stored or preserved copies of emails sent to and from the account (including all

draft emails and deleted emails), the source and destination addresses associated with each email,

the date and time at which each email was sent, the size and length of each email, and the true and

accurate header information including the actual IP addresses of the sender and the recipient of the

emails, and all attachments;

       d.       The contents of all instant messages associated with the account November 1, 2020,

to the present, including stored or preserved copies of instant messages (including iMessages, SMS

messages, and MMS messages) sent to and from the account (including all draft and deleted

messages), the source and destination account or phone number associated with each instant

message, the date and time at which each instant message was sent, the size and length of each

instant message, the actual IP addresses of the sender and the recipient of each instant message,

and the media, if any, attached to each instant message;

       e.       The contents of all files and other records stored on iCloud, including all iOS device

backups, all Apple and third-party app data, all files and other records related to iCloud Mail,

iCloud Photo Sharing, My Photo Stream, iCloud Photo Library, iCloud Drive, iWork (including

Pages, Numbers, Keynote, and Notes), iCloud Tabs and bookmarks, and iCloud Keychain, and all

address books, contact and buddy lists, notes, reminders, calendar entries, images, videos,

voicemails, device settings, and bookmarks;

       f.       All activity, connection, and transactional logs for the account (with associated IP

addresses including source port numbers), including FaceTime call invitation logs, messaging and

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query logs (including iMessage, SMS, and MMS messages), mail logs, iCloud logs, iTunes Store

and App Store logs (including purchases, downloads, and updates of Apple and third-party apps),

My Apple ID and iForgot logs, sign-on logs for all Apple services, Game Center logs, Find My

iPhone and Find My Friends logs, logs associated with web-based access of Apple services

(including all associated identifiers), and logs associated with iOS device purchase, activation, and

upgrades;

        g.       All records and information regarding locations where the account or devices

associated with the account were accessed, including all data stored in connection with Location

Services, Find My iPhone, Find My Friends, and Apple Maps;

        h.       All records pertaining to the types of service used;

        i.       All records pertaining to communications between Apple and any person regarding

the account, including contacts with support services and records of actions taken; and

        j.       All files, keys, or other information necessary to decrypt any data produced in an

encrypted form, when available to Apple (including, but not limited to, the keybag.txt and

fileinfolist.txt files).




Apple is hereby ordered to disclose the above information to the government as soon as possible,

and up to14 days of issuance of this warrant.




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   II.      Information to be seized by the government

         All information described above in Section I that constitutes fruits, contraband, evidence,

and instrumentalities of violations of 18 U.S.C. § 1512(c), 18 U.S.C. § 1752, and 40 U.S.C. § 5104,

involving Josiah Colt and occurring after November 1, 2020, including, for each account or

identifier listed on Attachment A, information pertaining to the following matters:

            (a) All records, including photographs, videos, and electronic communications,

                relating to the events at the Capitol on January 6, 2021.

            (b) Evidence indicating how and when the account was accessed or used, to

                determine the geographic and chronological context of account access, use, and

                events relating to the crime under investigation and to the account owner;

            (c) Evidence indicating the account owner’s state of mind as it relates to the crime

                under investigation;

            (d) The identity of the person who created or used the user ID, including records that

                help reveal the whereabouts of such person at the time of the alleged offense.

            (e) The identity of the person(s) who communicated with the user ID about matters

                relating to the events at the U.S. Capitol on January 6, 2021;

            (f) All records evidencing travel to the District of Columbia in connection with

                events of January 6, 2021.

         This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence, fruits,

and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

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staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.


   III.      Government procedures for warrant execution

          The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

          Law enforcement personnel will then seal any information from the PROVIDER that does

not fall within the scope of Section II and will not further review the information absent an order

of the Court. Such sealed information may include retaining a digital copy of all information

received pursuant to the warrant to be used for authentication at trial, as needed.




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED ONE
 ICLOUD ACCOUNT THAT IS STORED AT
                                        Case No. 21-sc-188
 PREMISES CONTROLLED BY APPLE
 INC. PURSUANT TO 18 U.S.C. § 2703, FOR
                                        Filed Under Seal
 AN INVESTIGATION INVOLVING A
 VIOLATION OF 18 U.S.C. § 1512


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Matthew Gano, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant for

information associated with the account of Josiah Colt, identified by Apple ID:

josiahcolt@gmail.com, DSID: 272715681, Login Alias: josiahcolt@icloud.com, that is stored at

premises owned, maintained, controlled, or operated by Apple Inc. (“Apple”), an electronic

communications service and/or remote computing service provider headquartered at One Apple

Park Way, Cupertino, California. The information to be searched is described in the following

paragraphs and in Attachment A. This affidavit is made in support of an application for a search

warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require Apple to disclose

to the government copies of the information (including the content of communications) further

described in Section I of Attachment B. Upon receipt of the information described in Section I of

Attachment B, government-authorized persons will review that information to locate the items

described in Section II of Attachment B.
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       2.      I am a Special Agent with the Federal Bureau of Investigation, and have been since

2017. During that time, I have investigated corruption of local and federal officials, fraud against

the government, bribery, threat to life cases, and violations of Color of Law and Civil Rights, as a

part of the FBI Washington Field Office Public Corruption and Civil Rights program. I have

prepared and assisted in the preparation of court orders and search warrant applications.

Additionally, during the course of these and other investigations, I have conducted or participated

in physical and electronic surveillance, assisted in the execution of search and arrest warrants,

debriefed informants, interviewed witnesses and suspects, and reviewed other pertinent records.

Through my training, education, and experience, I have become familiar with the efforts of persons

involved in criminal activity to avoid detection by law enforcement. I am assisting in the

investigation and prosecution of events which occurred at the United States Capitol on January 6,

2021. This affidavit is intended to show merely that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.

       3.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of 18 U.S.C. § 1512, 18 U.S.C. § 1752 and 40 U.S.C.

§ 5104 have been committed by Josiah Colt (the defendant). There is also probable cause to search

the information described in Attachment A for evidence, instrumentalities, contraband, and/or

fruits of these crimes further described in Attachment B.

                                         JURISDICTION

       4.      This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court “a district court of the United States . . . that has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

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                                       PROBABLE CAUSE

       5.      Based on subscriber information I have reviewed from Apple, Inc., I know that the

subject account is used by Josiah Colt, and was linked to digital devices he used at the U.S. Capitol

on January 6, 2021.

       6.      First, the subject account is registered in Josiah Colt’s name, with an address known

to law enforcement as affiliated with Josiah Colt. Second, based on information I have reviewed,

I know that the subject account was used to upload video at approximately 4:19 p.m. on January

6, 2021, which is consistent with social media posts made in Josiah Colt’s name using social media

accounts linked to him immediately as he exited the U.S. Capitol (discussed herein). Further,

the subject account logs indicate the account has been backed up to the cloud each day from

January 6, 2021 to January 14, 2021.

       7.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Vice President Mike Pence was present

and presiding in the Senate chamber.

       8.      With the joint session underway and with Vice President Mike Pence presiding, a

large crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside. At approximately

2:00 p.m., certain individuals in the crowd forced their way through, up, and over the barricades

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and officers of the U.S. Capitol Police, and the crowd advanced to the exterior façade of the

building. At such time, the joint session was still underway and the exterior doors and windows of

the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted

to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,

individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows.

Shortly thereafter, at approximately 2:20 p.m. members of the United States House of

Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the session resumed.

       9.      Based on information I have reviewed, I estimate that between 2:00 p.m., and no

later than 4:00 p.m., the defendant, Josiah Colt, entered the United States Capitol without

authorization to do so. He was photographed hanging off a balcony and landing on the floor of

the Senate chambers.

       10.     In a video posted to Facebook and circulated widely on other social media

platforms, the defendant claims he was the first person to sit in the House Speaker’s chair and calls

House Speaker Nancy Pelosi a traitor. The defendant appears to be mistaken as he was also

photographed in the seat reserved for the vice president, and not Speaker Pelosi.

       11.     According to public reporting, the defendant has admitted his involvement in the

riots, and apologized for it. In a statement given to CBS2 News he stated: “I love America, I love

the people, I didn’t hurt anyone and I didn’t cause any damage in the Chamber. I got caught up in



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the moment and when I saw the door to to [sic] the Chamber open, I walked in, hopped down, and

sat on the chair. I said my peace then I helped a gentlemen get to safety that was injured then left.”

       12.     Agents from the FBI’s Washington Field Office conducted a telephonic interview

with a relative of the defendant following submission of information to the FBI’s online tip system.

The relative confirmed that the individual in the aforementioned photographs hanging from the

balcony and sitting in the vice president’s seat is the defendant.

       13.     Based on the foregoing, a Magistrate Judge for the District of Columbia found

probable cause that Josiah Colt had committed violations of 18 U.S.C. § 1752(a)(1), which makes

it a crime to knowingly enter or remain in any restricted building or grounds without lawful

authority to do so; and 40 U.S.C. § 5104(e)(2), which makes it a crime for an individual or group

of individuals to willfully and knowingly (D) utter loud, threatening, or abusive language, or

engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol

Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress

or either House of Congress, or the orderly conduct in that building of a hearing before, or any

deliberations of, a committee of Congress or either House of Congress; (E) obstruct, or impede

passage through or within, the Grounds or any of the Capitol Buildings; (F) engage in an act of

physical violence in the Grounds or any of the Capitol Buildings; or (G) parade, demonstrate, or

picket in any of the Capitol Buildings. Cost was arrested on January 12, 2021, in the District of

Idaho and released subject to certain conditions, including that he stay away from the District of

Columbia.

       14.     The United States continues to investigate these violations, and submits that there

is also probable cause that Josiah Colt committed violations of 18 U.S.C. § 1512 (c), which makes

it a crime to corruptly alter, destroy, mutilate, or conceal a record, document, or other object, or

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attempts to do so, with the intent to impair the object’s integrity or availability for use in an official

proceeding; or otherwise obstruct, influence, or impede any official proceeding, or attempt to do

so.

                              BACKGROUND CONCERNING APPLE 1

        15.      Apple is a United States company that produces the iPhone, iPad, and iPod Touch,

all of which use the iOS operating system, and desktop and laptop computers based on the Mac

OS operating system.

        16.      Apple provides a variety of services that can be accessed from Apple devices or, in

some cases, other devices via web browsers or mobile and desktop applications (“apps”). As

described in further detail below, the services include email, instant messaging, and file storage:

                 a.       Apple provides email service to its users through email addresses at the

domain names mac.com, me.com, and icloud.com.

                 b.       iMessage and FaceTime allow users of Apple devices to communicate in

real-time. iMessage enables users of Apple devices to exchange instant messages (“iMessages”)

containing text, photos, videos, locations, and contacts, while FaceTime enables those users to

conduct audio and video calls.




1
          The information in this section is based on information published by Apple on its website, including, but
not limited to, the following document and webpages: “U.S. Law Enforcement Legal Process Guidelines,” available
at https://www.apple.com/legal/privacy/law-enforcement-guidelines-us.pdf; “Create and start using an Apple ID,”
available at https://support.apple.com/en-us/HT203993; “iCloud,” available at http://www.apple.com/icloud/; “What
does iCloud back up?,” available at https://support.apple.com/kb/PH12519; “iOS Security,” available at
https://www.apple.com/business/docs/iOS_Security_Guide.pdf, and “iCloud: How Can I Use iCloud?,” available at
https://support.apple.com/kb/PH26502.

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              c.        iCloud is a cloud storage and cloud computing service from Apple that

allows its users to interact with Apple’s servers to utilize iCloud-connected services to create,

store, access, share, and synchronize data on Apple devices or via icloud.com on any Internet-

connected device. For example, iCloud Mail enables a user to access Apple-provided email

accounts on multiple Apple devices and on iCloud.com. iCloud Photo Library and My Photo

Stream can be used to store and manage images and videos taken from Apple devices, and iCloud

Photo Sharing allows the user to share those images and videos with other Apple subscribers.

iCloud Drive can be used to store presentations, spreadsheets, and other documents. iCloud Tabs

and bookmarks enable iCloud to be used to synchronize bookmarks and webpages opened in the

Safari web browsers on all of the user’s Apple devices. iCloud Backup allows users to create a

backup of their device data. iWork Apps, a suite of productivity apps (Pages, Numbers, Keynote,

and Notes), enables iCloud to be used to create, store, and share documents, spreadsheets, and

presentations. iCloud Keychain enables a user to keep website username and passwords, credit

card information, and Wi-Fi network information synchronized across multiple Apple devices.

              d.        Game Center, Apple’s social gaming network, allows users of Apple

devices to play and share games with each other.

              e.        Find My iPhone allows owners of Apple devices to remotely identify and

track the location of, display a message on, and wipe the contents of those devices. Find My

Friends allows owners of Apple devices to share locations.

              f.        Location Services allows apps and websites to use information from

cellular, Wi-Fi, Global Positioning System (“GPS”) networks, and Bluetooth, to determine a user’s

approximate location.



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               g.       App Store and iTunes Store are used to purchase and download digital

content. iOS apps can be purchased and downloaded through App Store on iOS devices, or through

iTunes Store on desktop and laptop computers running either Microsoft Windows or Mac OS.

Additional digital content, including music, movies, and television shows, can be purchased

through iTunes Store on iOS devices and on desktop and laptop computers running either

Microsoft Windows or Mac OS.

       17.     Apple services are accessed through the use of an “Apple ID,” an account created

during the setup of an Apple device or through the iTunes or iCloud services. The account

identifier for an Apple ID is an email address, provided by the user. Users can submit an Apple-

provided email address (often ending in @icloud.com, @me.com, or @mac.com) or an email

address associated with a third-party email provider (such as Gmail, Yahoo, or Hotmail). The

Apple ID can be used to access most Apple services (including iCloud, iMessage, and FaceTime)

only after the user accesses and responds to a “verification email” sent by Apple to that “primary”

email address.      Additional email addresses (“alternate,” “rescue,” and “notification” email

addresses) can also be associated with an Apple ID by the user. A single Apple ID can be linked

to multiple Apple services and devices, serving as a central authentication and syncing mechanism.

       18.     Apple captures information associated with the creation and use of an Apple ID.

During the creation of an Apple ID, the user must provide basic personal information including

the user’s full name, physical address, and telephone numbers. The user may also provide means

of payment for products offered by Apple. The subscriber information and password associated

with an Apple ID can be changed by the user through the “My Apple ID” and “iForgot” pages on

Apple’s website. In addition, Apple captures the date on which the account was created, the length

of service, records of log-in times and durations, the types of service utilized, the status of the

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account (including whether the account is inactive or closed), the methods used to connect to and

utilize the account, the Internet Protocol address (“IP address”) used to register and access the

account, and other log files that reflect usage of the account.

       19.     Additional information is captured by Apple in connection with the use of an Apple

ID to access certain services. For example, Apple maintains connection logs with IP addresses

that reflect a user’s sign-on activity for Apple services such as iTunes Store and App Store, iCloud,

Game Center, and the My Apple ID and iForgot pages on Apple’s website. Apple also maintains

records reflecting a user’s app purchases from App Store and iTunes Store, “call invitation logs”

for FaceTime calls, “query logs” for iMessage, and “mail logs” for activity over an Apple-provided

email account. Records relating to the use of the Find My iPhone service, including connection

logs and requests to remotely lock or erase a device, are also maintained by Apple.

       20.     Apple also maintains information about the devices associated with an Apple ID.

When a user activates or upgrades an iOS device, Apple captures and retains the user’s IP address

and identifiers such as the Integrated Circuit Card ID number (“ICCID”), which is the serial

number of the device’s SIM card. Similarly, the telephone number of a user’s iPhone is linked to

an Apple ID when the user signs into FaceTime or iMessage. Apple also may maintain records of

other device identifiers, including the Media Access Control address (“MAC address”), the unique

device identifier (“UDID”), and the serial number. In addition, information about a user’s

computer is captured when iTunes is used on that computer to play content associated with an

Apple ID, and information about a user’s web browser may be captured when used to access

services through icloud.com and apple.com. Apple also retains records related to communications

between users and Apple customer service, including communications regarding a particular

Apple device or service, and the repair history for a device.

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         21.   Apple provides users with five gigabytes of free electronic space on iCloud, and

users can purchase additional storage space. That storage space, located on servers controlled by

Apple, may contain data associated with the use of iCloud-connected services, including: email

(iCloud Mail); images and videos (iCloud Photo Library, My Photo Stream, and iCloud Photo

Sharing); documents, spreadsheets, presentations, and other files (iWork and iCloud Drive); and

web browser settings and Wi-Fi network information (iCloud Tabs and iCloud Keychain). iCloud

can also be used to store iOS device backups, which can contain a user’s photos and videos,

iMessages, Short Message Service (“SMS”) and Multimedia Messaging Service (“MMS”)

messages, voicemail messages, call history, contacts, calendar events, reminders, notes, app data

and settings, Apple Watch backups, and other data. Records and data associated with third-party

apps may also be stored on iCloud; for example, the iOS app for WhatsApp, an instant messaging

service, can be configured to regularly back up a user’s instant messages on iCloud Drive. Some

of this data is stored on Apple’s servers in an encrypted form but can nonetheless be decrypted by

Apple.

         22.   In the instant application, the Government is investigating who was in the Capitol

Buiding on January 6, 2021. In my training and experience, evidence of who was using an Apple

ID and from where, and evidence related to criminal activity of the kind described above, may be

found in the files and records described above. This evidence may establish the “who, what, why,

when, where, and how” of the criminal conduct under investigation, thus enabling the United

States to establish and prove each element or, alternatively, to exclude the innocent from further

suspicion.

         23.   For example, the stored communications and files connected to an Apple ID may

provide direct evidence of the offenses under investigation. Based on my training and experience,

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instant messages, emails, voicemails, photos, videos, and documents are often created and used in

furtherance of criminal activity, including to communicate and facilitate the offenses under

investigation.

       24.       In addition, the user’s account activity, logs, stored electronic communications, and

other data retained by Apple can indicate who has used or controlled the account. This “user

attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

search warrant at a residence. For example, subscriber information, email and messaging logs,

documents, and photos and videos (and the data associated with the foregoing, such as geo-

location, date and time) may be evidence of who used or controlled the account at a relevant time.

As an example, because every device has unique hardware and software identifiers, and because

every device that connects to the Internet must use an IP address, IP address and device identifier

information can help to identify which computers or other devices were used to access the account.

Such information also allows investigators to understand the geographic and chronological context

of access, use, and events relating to the crime under investigation.

       25.       Account activity may also provide relevant insight into the account owner’s state

of mind as it relates to the offenses under investigation. For example, information on the account

may indicate the owner’s motive and intent to commit a crime (e.g., information indicating a plan

to commit a crime), or consciousness of guilt (e.g., deleting account information in an effort to

conceal evidence from law enforcement).

       26.       Other information connected to an Apple ID may lead to the discovery of additional

evidence, including forthcoming attacks on the U.S. Capitol linked to the events of January 6,

2021. For example, the identification of apps downloaded from App Store and iTunes Store may

reveal services used in furtherance of the crimes under investigation or services used to

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communicate with co-conspirators.       In addition, emails, instant messages, Internet activity,

documents, and contact and calendar information can lead to the identification of co-conspirators

and instrumentalities of the crimes under investigation.

       27.     Therefore, Apple’s servers are likely to contain stored electronic communications

and information concerning subscribers and their use of Apple’s services. In my training and

experience, such information may constitute evidence of the crimes under investigation including

information that can be used to identify the account’s user or users.

                                         CONCLUSION

       28.     Based on the forgoing, I request that the Court issue the proposed search warrant.

       29.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant. The government will execute this warrant by

serving the warrant on Apple. Because the warrant will be served on Apple, who will then compile

the requested records at a time convenient to it, reasonable cause exists to permit the execution of

the requested warrant at any time in the day or night.




                                                   Respectfully submitted,



                                                   Matthew Gano
                                                   Special Agent
                                                   Federal Bureau of Investigation



       Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on January 20, 2021

       _________________________________________
       Honorable G. Michael Harvey
       UNITED STATES MAGISTRATE JUDGE
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                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                     RECORDS PURSUANT TO FEDERAL RULES OF
                            EVIDENCE 902(11) AND 902(13)


       I, _________________________________, attest, under penalties of perjury by the laws

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by Apple Inc. (“Apple”), and my title is

_____________________________. I am qualified to authenticate the records attached hereto

because I am familiar with how the records were created, managed, stored, and retrieved. I state

that the records attached hereto are true duplicates of the original records in the custody of

Apple. The attached records consist of ______________ [GENERALLY DESCRIBE

RECORDS (pages/CDs/megabytes)]. I further state that:


       a.      all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth by, or from information transmitted by, a person with

knowledge of those matters, they were kept in the ordinary course of the regularly conducted

business activity of Apple, and they were made by Apple as a regular practice; and


       b.      such records were generated by Apple’s electronic process or system that

produces an accurate result, to wit:


               1.      the records were copied from electronic device(s), storage medium(s), or

file(s) in the custody of Apple in a manner to ensure that they are true duplicates of the original

records; and


               2.      the process or system is regularly verified by Apple, and at all times

pertinent to the records certified here the process and system functioned properly and normally.
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        I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.




 Date                                  Signature




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